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KAPLAN FOX & KILSHEIMER LLP                             WEIL, GOTSHAL & MANGES LLP
SILVER GOLUB & TEITELL LLP                                          DAY PITNEY LLP



July 10, 2024

By ECF
Honorable Stefan R. Underhill
United States District Court for the District of Connecticut
Brien McMahon Federal Building, United States Courthouse
915 Lafayette Boulevard, Suite 411
Bridgeport, Connecticut 06604

Re: McGreevy et al v. Digital Currency Group, Inc. et al, 3:23-cv-00082-SRU (D. Conn.)

Dear Judge Underhill:

       Plaintiffs William McGreevy, Ashwin Gowda, Translunar Crypto, LP, Christopher

Buttenham, and Remo Maria Morone (together, “Plaintiffs”) and defendants Digital Currency

Group, Inc., Barry Silbert, Glenn Hutchins, Lawrence Lenihan, Mark Murphy, Michael Kraines,

Soichiro “Michael” Moro, and Derar Islim (together, “Defendants”) (“Plaintiffs” and, together

with Defendants, the “Parties”) jointly submit this letter to advise the Court that: (1) Plaintiffs

intend to accept the Court’s invitation to file a Third Amended Complaint; and (2) the Parties have

conferred accordingly and agreed upon the following briefing schedule:


                Plaintiffs’ Third Amended Complaint      July 31, 2024


                Defendants Response to Plaintiffs’ September 16, 2024
                Third Amended Complaint

                                                         October 31, 2024
                Plaintiffs’ Opposition (if necessary)

                Defendants’ Reply (if necessary)         December 2, 2024


       The Parties respectfully request that the Court approve their proposed schedule. The

Parties are available to discuss should the Court have any questions.
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 Dated: July 10, 2024

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